               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


AMY BRYANT, M.D.                )
                                )
               Plaintiff,       )
                                )
     v.                         )
                                )
JOSHUA H. STEIN, in his         )
official capacity as            )
Attorney General for the        )
State of North Carolina,        )
JEFF NIEMAN, in his official    )
capacity as District Attorney   )
for North Carolina 18th         )
Prosecutorial District,         )
KODY H. KINSLEY, in his         )
official capacity as the        )
North Carolina Secretary of     )            1:23-cv-77
Health and Human Services,      )
MICHAUX R. KILPATRICK, MD,      )
PHD, in her official capacity   )
as President of the North       )
Carolina Medical Board; and     )
CHRISTINE M. KHANDELWAL, DO,    )
DEVDUTTA G. SANGVAI, MD, MBA,   )
JOHN W. RUSHER, MD, JD,         )
WILLIAM M. BRAWLEY, W. HOWARD   )
HALL, MD, SHARONA Y. JOHNSON,   )
PHD, FNP-BC, JOSHUA D. MALCOLM, )
JD, MIGUEL A. PINEIRO, PA-C,    )
MHPE, MELINDA H. PRIVETTE, MD, )
JD, ANURADHA RAO-PATEL, MD      )
and ROBERT RICH, JR., MD,       )
in their official capacities    )
as members of the North         )
Carolina Medical Board,         )
                                )
               Defendants,      )
*******************************
          and                   )
                                )
PHILIP E. BERGER, in his        )
official capacity as            )




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President Pro Tempore of the       )
North Carolina Senate, and         )
TIMOTHY K. MOORE, in his           )
official capacity as Speaker       )
of the North Carolina House        )
of Representatives,                )
                                   )
     Defendant-Intervenors.        )


                                 ORDER

     Philip E. Berger, President Pro Tempore of the North

Carolina Senate, and Timothy K. Moore, Speaker of the North

Carolina House of Representatives, move to intervene on behalf

of the General Assembly and as agents of the State of North

Carolina to defend N.C. Gen. Stat. §§ 14-44, 14-45, 14- 45.1,

90-21.82, 90-21.90, and 10A N.C. Admin. Code Subchapter 14E

pursuant to Fed. R. Civ. P. 24 and LR 7.3. (Doc. 29.) Plaintiff

does not oppose the motion. (Doc. 44.) Plaintiff requests that

intervenors be required to file an answer or motion to dismiss

on or before March 24, 2023. (Id.) The named defendants do not

oppose the motion. (See Docs. 45, 47, 48, 49.) This court finds

the motion should be granted. Furthermore, in the absence of an

objection, (see Doc. 46 at 3), the court will order Intervenors

to file an answer or otherwise respond to the complaint on or

before March 24, 2023.

     Intervenors move to intervene pursuant to Fed. R. Civ. P.

24(a) and (b). In the absence of an objection to intervention,

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this court does not find it necessary to resolve whether

intervention should be allowed as a matter of right. Intervenors

have shown, at a minimum, that intervention should be allowed

pursuant to Fed. R. Civ. P. 24(b)(1)(B).

     IT IS THEREFORE ORDERED that the Motion to Intervene as

Defendants, (Doc. 29), is GRANTED and Intervenors Philip E.

Berger, President Pro Tempore of the North Carolina Senate, and

Timothy K. Moore, Speaker of the North Carolina House of

Representatives, are permitted to intervene on behalf of the

General Assembly and as agents of the State of North Carolina to

defend N.C. Gen. Stat. §§ 14-44, 14-45, 14- 45.1, 90-21.82, 90-

21.90, and 10A N.C. Admin. Code Subchapter 14E pursuant to Fed.

R. Civ. P. 24 and LR 7.3 in this action.

     IT IS FURTHER ORDERED that Intervenors shall file an answer

or otherwise respond to the complaint on or before March 24,

2023.

     This the 10th day of March, 2023.




                                 __________________________________
                                    United States District Judge




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